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    narbaugh@winston.com
    Attorneys for Christopher Cox

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                  :
                                                            :         Chapter 11
    The National Rifle Association of America, el al. 1     :
                                                            :         (Jointly Administered)
                            Debtors.                        :
                                                            :         Case No. 21-30085-hdh11

     CHRISTOPHER W. COX’S JOINDER TO (I) THE MOTIONS TO DISMISS OR, IN
        THE ALTERNATIVE, TO APPOINT A CHAPTER 11 TRUSTEE FILED BY
      ACKERMAN MCQUEEN, INC. AND THE STATE OF NEW YORK, OR (II) THE
       MOTION OF PHILLIP JOURNEY FOR APPOINTMENT OF AN EXAMINER

             Christopher W. Cox (“Cox”), by and through his undersigned counsel, hereby files this

joinder to Ackerman McQueen, Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy Petition, or,

in the Alternative, Motion for the Appointment of a Chapter 11 Trustee, and Brief in Support (Dkt.

131) (“Ackerman’s Motion to Dismiss”); The State of New York’s Motion to Dismiss, or, in the

Alternative, to Appoint a Chapter 11 Trustee (Dkt. 155) (together with Ackerman’s Motion to

Dismiss, the “Motions to Dismiss”); and The Honorable Phillip Journey’s Motion for




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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Appointment of Examiner (Dkt. 114) (the “Examiner Motion”). Cox hereby joins in the relief

sought in the Motions to Dismiss 2 and the Examiner Motion.

         WHEREFORE, for the reasons set forth in the Motions to Dismiss and the Examiner

Motion, Cox respectfully requests that this Court enter an order (i) dismissing the Bankruptcy

Case, or, in the alternative, authorizing the appointment of a chapter 11 trustee, or (ii) appointing

an examiner; and (iii) granting such other and further relief as the Court deems appropriate and

just.

Dated: February 17, 2021                                      Respectfully submitted,

                                                              WINSTON & STRAWN LLP

                                                              /s/ Natalie L. Arbaugh
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                                                              Attorneys for Christopher Cox

2
  While Cox agrees with the Arguments in the Motions to Dismiss, he does not join in all of the factual allegations
therein.
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                                CERTIFICATE OF SERVICE

      I hereby certify that on February 17, 2021, I caused a true and correct copy of the foregoing
document to be served upon all parties listed in the attached Master Service List via the Court’s
CM/ECF system, U.S. mail, and/ or email where listed.

                                             /s/ David Neier




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                          In re: Sea Girt LLC - Case No. 21-30080
              In re: National Rifle Association of America - Case No. 21-30085

                                  MASTER SERVICE LIST

                                   Debtor/Debtor’s Counsel


 National Rifle Association of America          Neligan LLP
 11250 Waples Mill Road                         Attn: Patrick J. Neligan
 Fairfax, VA 22030                                      Douglas J. Buncher
                                                        John D. Gaither
                                                325 N. St. Paul, Suite 3600
                                                Dallas, TX 75201
                                                Email: pneligan@neliganlaw.com
                                                        dbuncher@neliganlaw.com
                                                        jgaither@neliganlaw.com
 Sea Girt LLC
 11250 Waples Mall Road
 Fairfax, VA 22030

                                         U.S. Trustee

 Office of the United States Trustee
 Attn: Lisa Young
 Earle Cabell Federal Building
 1100 Commerce Street, Room 976
 Dallas, TX 75242

                                       Secured Creditors

 Atlantic Union Bank
 Attn: Andrew Kalin
 1800 Robert Fulton Drive, Suite 100
 Reston, VA 20191
 Email: andrew.kalin@atlanticunionbank.com

                               20 Largest Unsecured Creditors

 Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
 1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
 Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




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 Gould Paper Corporation                        Infocision Management Corp.
 Attn: Warren Connor                            325 Springside Drive
 99 Park Avenue, 10th Floor                     Akron, OH 44333
 New York, NY 10016

 Under Wild Skies                               Valtim Incorporated
 201 N. Union Street, Suite 510                 P.O. Box 114
 Alexandria, VA 22314                           Forest, VA 24551

 Quadgraphics                                   Communications Corp of America
 N63W23075 Hwy. 74                              Attn: Ken Bentley
 Sussex, WI 53089                               13129 Airpark Drive, Suite 120
                                                Elkwood, VA 22718

 Membership Advisors Public REL                 Salesforce.Com, Inc.
 11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
 Fairfax, VA 22030                              San Francisco, CA 94105

 Mercury Group                                  Speedway Motorsports, Inc.
 1601 NW Expressway, Suite 1100                 P.O. Box 600
 Oklahoma City, OK 73118                        Concord, NC 28026

 Image Direct Group LLC                         Google
 200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
 Frederick, MD 21701                            Mountain View, CA 94043-1351

 TMA Direct, Inc.                               United Parcel Services
 12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
 Manassas, VA 20109                             Philadelphia, PA 19170

 Membership Advisors Fund Raising               Stone River Gear, LLC
 11250 Waples Mill Road, Suite 310              P.O. Box 67
 Fairfax, VA 22030                              Bethel, CT 06801

 Krueger Associates, Inc.                       CDW Computer Centers, Inc.
 105 Commerce Drive                             P.O. Box 75723
 Aston, PA 19014                                Chicago, IL 60675

                                      Government Agencies


 Internal Revenue Service                       Office of Attorney General (NY)
 P.O. Box 7346                                  Attn: Letitia James
 Philadelphia, PA 19101-7346                    28 Liberty Street
                                                New York, NY 10005




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